Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 1 of 57

COMPOSITE
EXHlBlT 1

Case 2:17-cv-03007-RFB-VCF Document 1-`1' Filed 12/06/17 Page 2-0f 57

Int. Cl.: 42

. . m: 1
Prior U S Cl~a 00 and 101 Reg. No, 21411,329

Unitecl States Patent and Trademark Office Reg:s¢er¢a oec.s,zuuu

SERVICE MARK
PRINCIPA.L REGISTER

I)IAMOND RESORTS INTERNATIONAL

CLOOBECK ENTERPR[SES (NEVAD.»*\ CORPORA- NO CLAIM lS MADE 'l` 0 THE EXCLUSIVE R!GHT
TION] '}`O USE "RBSORTS INTBR.NATIONAL", APART
3745 l.AS VEGAS BDULBVARD SOUT[-l FROM THE MARK AS SH(JWN.
LAS VEGAS, NV 90405 _
SN 75~646,039, ["IE.ED 2»_22-!999.
FOR: l'lO'!“EL SERVICES, fN CLASS 42 (U.S. CLS.
100 AND 101). AlSHA CLARKE, EXAM|NING AT'I`ORNEY
FIRS'|` USE 2-| 1~1999,' IN COMMERCE 2-1]-1999.

Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 3 0f-57

Inc. cl.= 36

) ' ¢ , 4

1 nor U.S. Cls.. 100, _101, and 102 Reg. No. 2’432’190
United States Patent and Trademark Offiee Regzs¢¢-.wa Feb. zv, 2001

 

SERVICE MARK
PRmClPAL REGISTER

])IAMOND RESORTS INTERNATIONAL

CLOOBECK. ENTERPR.ISES (NEVADA CORFORA- NO CLAlM lS MADE TO THE BXCLUSIVE R]GHT

'I`ION) TO USE “RESORTS INTBRNATIONAL", APART
3?4$ LAS VEGAS BOULEVARD SOUTH FR.OM THE MAR.K. AS SHOWN. ‘

LAS VEGAS, NV 89109 .
SN 75-645,239, FILED 2-22~1999.
FOR: REAL ESTATE T]ME SHAR.ING SERVICES,
IN CLASS 36 (U.S, CLS. 100, 101 AND 102). VERNA BE.TH RIRJE, EX.AMINING ATTORNEY
FIRST USE 2-11~1999; lN COM_MERCB 2-11-]999.

Case 2:17-cv-03007-RFB-VCF Document 1-1l Filed 12/06/17 Page 47 of 57

 

 

 

 

 

 

l TRADE.MARK ASS|GNMENT
Electronic Version v1.1
Styiesheet Version v1.1

SuBMlSSlON TYPE: NEW ASS!GNMENT

 

 

 

 

 

 

 

 

 

NATURE OF CONVEYANCE:

 

 

ASS|GNS THE ENT|RE |NTEREST AND THE GOODW|LL

 

 

 

CONVEY|NG PARTY DATA

 

 

Name

Former|y l Execution Date

 

Entity Type

 

 

 

 

Cloobec|< Enterprlses

 

 

|10/30.'2006

 

 

CORPORAT!ON: NEVADA

 

 

 

 

 

 

 

 

RECE!V!NG PARTY DATA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

`Name: Dlamond Resorts, LLC l
StreetAddress: 3745 Las Vegas Boulevard South l
City: HL.as Vegas

mate/counth 1 NE\/ADA

Posta1 Code: 89109

Ent|ty Type: L|l\mTED LlABlLiTY COMPANY: NEVADA

 

 

 

 

 

PROPERTY NUMBERS Total: 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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F‘roperty Type Number Word Mark
Reg|stration Number: 2411329 DIAMOND RESORTS ENTERNAT|ONAL
Registration Number: 2432190 DIAN|OND RESORTS |NTERNAT|ONAL
CORRESPONDENCE DATA
Fax Number: (310)286-0488
Gorrespandence w:TI be senf via US Mail when the fax adempf is unsuccess)‘i;/.
Phone: 3'% 0~286~0377
Emai!: ghacker@hh.oom
' Correspondent Name: The H'ecker' Law Group
Address Line 1: 1925 Century Park East
Address Line 2: Suite 2300
Address Line 4: Los Ange|es, CALIFORNIA 90067
l ATTORNEY DOCKET NUMBER: 13850.905
LNAME OF $UBM|TTER: Gary A. Hecker, Esq.
|| Signature: fGary A. Hecker, Esq./
il "l"l"'l h hEllll h Dl(
900061469 KL-.r:l_: 003413 rr<ANlE: 0108

 

 

 

 

Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 5 of 57

Date: _ 10/31 /2 006

 

 

 

 

 

Totai Attachments: 1
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Case 2:17-cv-03007-RFB-VCF- Document 1-1 Filed 12/06/17 Pagé 6 of 57

 

 

 

 

 

October 30, 2006

Maria T. Giammanc:o, S:“.Sq.

Tl-lE l~lECKER LAW GROUP. PLC,
1925 Century Pac‘l< East

Suite 2300

Los Ange|es, Caliic)rnl:»:l 90067
Emai|: mgiammanco@hn.cgn)
(310} 286-037? ext. 430 - Phone
(310} 236»0488 - Fax

RE! DIANIOND RESOR'TS 'lNTERNATEONAL Reg. ND$. 2411329 and 2432‘190 (the “le\rks")

Dear Nlaria: '

Ti'lis letter Shail confirm that Clooheck Enterprises, a Nevacla coc'porat|on, has assigned and
transferred all and any rights, tiiie, goodwill and other interests that it may have had in, to and
under the ivlarks to Dis)moncl Resorts. l_l_C.

Siricere|y,

 

Richai'd Cloc)bec|<-~-- -
!-\uthorized Agent for
C|oobeol< Enierprises

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RECORD|:I.J: 1013'|12(105 Kl:i:l_: Uu;s¢nu rKAlle: 0110

 

Case 2:17-cv-03007-RFB-VCF Document i-l Filed 12/06/17 Peige 7 of 57

ll TRADEMARK ASS|GNMENT ll

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SUBM|SS|ON TYPE: NEW ASS|GNMENT
NATURE OF CONVEYANCE: ASSIGNS THE ENT|RE |NTEREST AND THE GOODW|LL

 

 

 

 

 

 

CONVEY|NG PART\’ DATA

Name ` Execution Date "l“

|M|TED LlAB|L|TY J

D RESORTS. LLC. 7/13"20°7 coMPANY: NEVADA

 

 

 

RECE|VING PARTY DATA

lAlVlOND RESORTS HOL.D|NGS, LLC.
Address: 45 LAS VEGAS BOULEVARD SOUT|-l
, . VEGAS

 

 

N EVAD)'-\
Postal Code: 89109
E T |TED LlAB|L|TY COMPANY: NEVADA

 

 

 

 

PROPERTY NUMBERS Tuta|: 2

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Property Type ll Number Word Nlark` t
Registration Number: 2411329 DIAMOND RESORTS |NTERNAT|ONAL `_
q-
Registratlon Number: 2432190 DlA|\/|OND RESORTS lNTERNAT|ONAL °'
l¢:.>
coRREsPONDENcE DATA §
Fax Number: (310)556-2209
Correspondence will be sent via US Ma:? when the fax aifempt 119 unsuccess)i:l. l
F'hone: 310 556 788‘|
Emai|: mk|einberg@chrisglase.com
Correspondent Name: N|/-\RV|N H. KLEIN BERG ' l
Address Llne 1: 10250 CONSTELLAT|ON BLVD.,
Address Line 2: 19th Floor
Address Line 4: LOS ANGELES, CAL|FORN|A 90067
ATTORNEY DOCKET NUMBER: ` 15338
NAME OF SUBMITTER: MARV|N H. KLE|NBERG
Signature: /marvin h. kleinberg/
'fh A l'\l-l l »I\ l'\l»c

 

 

 

 

900082017 - REEL: 003532 I~KAWIE: 0469

Case 2:17-cv-03007-RFB-VCF Documeni 1-1 Filed 12/06/17 Peige 8 of 57

 

 

Date: 07117/2007 l |

 

 

 

 

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REEL: 003582 FRA|VIE: 0470

Case 2:17-c\/-03007-RFB-VCF Documeht 1-1 Filed 12/06/17 lF>age 9_ of 57

ASSIGNMENT

WHEREAS DIAMDND REBORTS, LLC, a limited liability oompany.
organized and existing under-the law$ of the state of Nevada
and having its principal place of busines$ in the city of Las
Vegaa, abate of Nevada, hat acquired and used in its buoineas
and is the sole owner of the Trademark set out below, which
mark ia registorod on the Prinoipal Register of the United
States Patent and Trademark Of£ioe, and the good will of the
business appurtaining thereto;

WHEREAS DIAMDND RESORTS HOLDINGB, LLC,_& limited
liability company organized and existing under the laws of the
State of Navada and having its principal place of busineas in
the city of Las Vega$, state of Nevada, has succeeded to the
entiro buainess of DIAMOND RESORTS, LLC, cr portion thereof to
which the mark pertains, is aaairous of acquiring all of the

' right title and interost in and to the Trademark and the good
will of the businaas or portion thereof appurtaining thoreto.

THEREFORE, for good and valoahla oonsideration, receipt
of which is hereby acknowledge&, said DIAMDND RESORES, LLC`
does'horeby sell, assigo, ana transfer unto the said DIAMOND
RE$ORTS HOLDINGS, LLC, all tight, title and interest in and to
the following mark, together with all or so much of the good
Will of the business as is symbolized by the mark as of the
date sat forth below, as well as the right to sue_for past

infringaments.
Matk Reg. No. ISsue Date
DIAMOND RESORTB INTERNRTIONAL _ 2,&32,190 Fab. Tr 2001
DIAMDND RESORTS INTERNHTIONAL 21411,329 DSG. 51 3000
Dat@: zy;z/épé@j? '

DIAMDND REBORTS¢ LLC

 

By Richard Cloobock
Executive Vioe President

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RECORDEL): uri'l?lzuu'; 1 m.-.i.-.:.: uu.sou¢ rmmi|E: 0471

 

Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 10 of 57

utted States of Amer['£

United States Patent and Trademark Office tea

DIAMOND RESORTS

Reg, No, 3 746 815 DIAMOND RESORTSHOLDINGS. LLC (NBVADA LIMITED LIABILH‘Y coWANY)
chiswmd pcb 9 2910 10600 WEST CHARLESTON BLVD
LASVEGAS Nv 2913:,

Int. Cl.: 36 tom REAL EsTA'm BQUITY sHARING, NAMELY, MANAoiNG AND ARRANGlNG FoR
coo\wER,<_:mP or REAL EsT/ma RBAL Es'mm TLME ammch vAcmoN REM.
tamm Trwn" simer nxom.\Non sr-.Rvici:s vAcATioN mw norma TiMr-,sriARiNo

SERV{CE MARK mci Ass 36 (_Us ci s. 100, 101 ANr) 102).
PR}NCTPAL REG]STER

FIRST USE 3-3-2000‘, IN COMIMERCE 3-3-2000.

THE, MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLA]M TO ANY PAR-
T[CULAR FON"I`, STYLE, SIZE, OR COLOR..

OWNER OF U.S. REG.NOS,2,411,329, 2,432§190,!\1\`[[) 3_.633,049.

NO CLAIM IS MADE TO Tl-IB EJ{CLUSIVE R.IGH.`T TO USE "RESORTS", APART FROM
TFTF. MARK AS SUOWN.

S]:Jl{. NO. 77-799,023, FII,HIJ 8-6-2009.

Al‘ll.ll.. `H.ESIK, EXAMININ G A'l_'l'ORNEX

 

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Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 11 of 57

mixed State§ of Amerf

United Sta;es Patent and Trademark Office ca

DIAMOND LOYALTY

Reg_ No_ 4,[}67,322 DIAMOND RESORTS iioLDlNos, LLC (NEVADA LerTF.D LlABiL,rrY coWANY)
_ ms LAs onAs Bl.vo. sou'ru
Reglstered Dec. 6, 2011 LAstoAs,Nv 89109

Int, Cls.: 36, 38, 43, and FoR: REAL EsTATr~, 1312th sHAmNo, NAMELY, MANAoiNo AND ARRANGING FoR
45 CO-OWN'ERSHlP C|F R.EAL ESTATE; REAL ESTATH SERVICES, NAMELY, RENTAL OF
snow mm FURNISI-u-:-o APARTMENTS-, REAL ESTATE TIME-sHARING; vAcATIoN
nizAL ESTATE TiME sHARJNo; vAcimoN REAL Es'mc=, TIME_sHAmNo stuvrcns,
SERVICE NIARK IN CLASS 35 (UlS. CLS. 100, 101 f-\.ND 102).

PRINCIPAL REGISTER }"']RS'l` USE 12-0-2009;1N COMMERCB 12-0-2009.

FOR: PROVIDING FREE lNTERNE'l` ACCESS', PROVIDENG A DEDICATED WBB P()RTAL
IN '['['IE NA'T'U'RE OP` PROVIDING ACCESS TO INTERACTIVE ONLINE Cl-IAT ROOM;
PROVID[NG DEDICATED RES ERVATION TELEPHUNE LINES FOR SECURJNG .ACCOM~
MODATZONS, IN CLASS 38 (U.S. CLS. 100, 101 AND 104).

F 1RS'1' USE 12-()-2009; IN.COMMERCE 12-0-2009.

FOR: TRAVEL SERVICES, NAMELY, PROVIDING 'l'RAVEL LODGING INFORMA'I`ION
S ERVICES AND TRAVELAGENCY BOOKFNG SERVICES POR TRAVELERS; ARRANGING
FOR ROOMS [N RESOR'I`S, ACCOMMODA'I`ION EXCHANGE AND R.ESERVATION SER»
VICES', MAK]NG ARRANGEMENTS FORTRAVELERS TO EXTEND LODGING RESERVA-
TIONS, REDEEM UNUSED LODGING RESERVATIONS, OR '1`0 BE ALLOWED '.1`0 WAWE
R_EDEMP'l`ION DATES IN CONNECT[ON WITH ACCOMMODNI`ION PROMOT]ONS, IN
CLASS 43(11.S.CLS. 100AND101).

FIRST USE 12~0-2009; IN CGMMERCE 12-0-2009.

FoR: coNCIERoE SERVICES FoR oTHERS, COMPRISING MAKING REQUBSTED PER-
SONAL ARRANGEMENTS AND RESERVATIONSAND PROVIDING CUSTOMER SPECIFIC
lNFORM/\TION To MEET iNDI\/IDUAL NEEDS RBNDERED TOGETHER IN A HUTEL
AND R_ESORT, APARTMENT 'HMBSHARE ENV!RONMEN'R PROV!DING CUSTOMIZED
GlF"r BASKETS INCLUDING BATHROOM AMEN:TIES, lN cLASS 45 (U.S. CLS. 100 AND
101).

 

I"IRST USE 12-0-2009; IN COMMERCE 12-0¢2009.

Dirc¢:lorufl|m L|ulnx! Slnu:s l'i\lenl null ‘l`:ldcmmk OIHL-e

Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 12 of 57

 

Reg_ NO_ 4,067,822 THE MARK coNsls'i's oF s'rANDARD cliARAcTERs wrmour cLAlM 'ro ANY m R-
TicULAR FoN'r, s'lYLE, sczE, oR coLoR.

OWNER OF U.S. REG. N()S. 2,411,329AND 2,432,190.
SN 77-866,295,1"`1LED 11-5-2009.

MATTHEW KLlNE, EXAMINING ATTORNEY

Pz\ge: 2 :' RN # 4,067,822

Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 13 of 57

U“ gith

United States Patent and Trademark Office la

S-HARE THE DIAMOND

Reg. No. 4,101,489
Registered Feb. 21, 2012
Int. Cl.: 36

SERV`ICE MARK
!’RINCIPAL REGISTER

 

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DIFFERENCE

DIAMOND RESORTS HOLDING, LLC (NEVADA LIMITED LIABILITY COMPANY)
374-5 LAS VEGAS BLVD. SOUT]'I
LAS VEGAS, NV 89109

row R:~;AL ESTATF. sioer srimuNo, NAMELY, MANAG|NG ANo ARRANoiNG FoR
co-owNERsHiP op REAL ESTATE REAI.. ESTATE TiME~sHAmNo; vAcATIoN REAL
ESTATEHME sHARBEXcHANoE ssRvIcEs;vAcATloNREAL Es'rATET:ME-siiARiNo;
vAcAT:oN REAL ESTATE TIMESHARE sEvacEs, IN cLA ss 36 (U.s. cLs. 100, 101 AND
102}.

Fmsr USE 491-2011;11~1 coMMERcE 4»1.2011.

TT~{E. MARK CONS[STS OF S'TANDARD CHARACTERS WITH()UT CLAIM 'I`O ANY PA R-
TICUI_,AR PON"'I`, S'I`YLE, SIZE, ()R COLOR.

SER. NO. 85-308,$54, FILED 4-29-201 1.

CHR.| STOPH]:".R BUONG[ORNO, EXAM|N[NG A'l"l`ORNEY

Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 14 of 57

U“"tgd Sfafe§ of Amel,[»£

United States Patent and Trademark Office tca

DIAMOND IUSORTS
INTERNATIONAL

Reg, No_ 4,361,959 DIA MoNo masons HoLmNos, LLC (NthoA LIMITED LmBlLlTY CoMPANY)
, ms LAS on/is BLvo. souTH
Reglstered Jufy 2, 2013 LAS onAS,Nv 89109

Int. Cl.: 35 FOR: REAL ESTATB sALES MANAGEMENT; MANAGING AND oPERATiNG liori;r.,s or
oniERs, m c:.Ass 35 (U.s. Cl,s. 100, 101 AND 102).

SERVICE MARK FiRST USE 3_27-2011; lN CoMMERcE 3~2?-2011.

PRINClPAL REGISTER 'i‘i.~IB MARK coNSISTs or S'LANDARD cimimCTERs wm»lou'r CLAIM 10 ANY PAR-

TICULAR FON'[`, S'l`YLE, SIZE, OR COLOR.
OWN'ER OF US, REG. NOS. 2,411,329, 3,784,823, AND U]"HERS.

NO CLA]M lS MA DB TO 'THE EXCLUS[VE RlGHT 'I`O USE "R_ESORTS INTERNATIONAL",
APART FROM 'l'lIE MAR.K AS Sl~IOWN.

SN 85-446,890, FILED 10-13-201].

JAMES LOVELACE, EXAMINING ATIORNEY

 

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Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 15 of 57

United States Patent and Trademark Of,fice £a,

DIAMOND LUXU.RY SELECTION

Reg. No. 4,505,500 DLAMOND RESoRTs HoLolNos. LLc (NBVADA LIM;TED LlABlLlTY con/imm
. 37¢15 LAS VEGAS BLND. SOU'L`H
Reglstered Apr. 1, 2014 LAS vEGAs, Nv wing

Int. Cl.: 43 FoR: MA KiNG RESERVATIONS AND BooKlNos FoR omERs AT HOTELS AND RESID-
ENCES; PRov§DrNGA wEBsITE FEATURING INFORMATIONIN THE FIELD or Ho"rELs
AND TBMPORARY AccoMMooATioNs FoR TRAVELERS; liESERVING LoooING

SERV!CE MARK RooMs roR mvELERs, iN CLASS 43 (u.s. cLs. 100 AND 1011l

PRINCIPAL REGISTER Fms'r USB 1o21-201:i; lN coMMERcE 10-21-2013.

'I`l'-IE MAR.K CONSISTS OF S'l`ANDAR]J CHARACTERS WlTHOU'l` CI..A§M 'I`O ANY PAR-
TlCUL.-\R FONT, STYLE, SIZE, OR COLOR.

SER. NO. 86-100,491,F1LBD 10“24-2013.

'I`ASNEEM I~IUS SAIN, EXAMIN[NG A'I`TORNEY

 

Depnty Dll'cctol' of the Uoitui| Smtes
Pnlnlll and Tl'iulc'mm'k Oi`fli.‘u

Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 16 of 57 7

_U“ u`tgd Sfafe§ of Amel,l£

United States Patent and Tradematk Office lea

DIAMOND PLUS POlNTS

Reg. No. 4,805,164
Registered Sep. 1, 2015
Int. CIS.: 35 and 36

SERVICE MARK
PRINCIPAL REGISTE.R

 

W.Mk z.-.`

Dircctor of the Unitod Stntes
Patent and Tradcmal'k Ol"fice

DIAMOND RES()RTS }IOLD[NGS, LLC (NEVAI)A LIM[TED LIABILITY COIVH“AN'Y)
10600 W. CI-IARLESTON BLVD.

LAS VEGAS, NV 89135

FOR: INCENTIVE PROGRAMS FOR CREDIT CARD USERS, NA MBLY, PROVlDING GIFT
CARDS, MERCHAND]SE, AND TRAVEL AWARDS FCR CRED]T CARD USE AS PART OF
A CUSTOMER LOYALTY PRQGRAM, IN CLASS 35 (U.S. CLS. 100, 101 AND 102].

FZRST USE 10»14-20]4; IN COMMERCE 10-14-2014.

FOR: CRED]'I` CARD SERV]CES; INCENTIVH l’ROGIU\MS FOR CREDIT CARD USERS,
NAMELY, PROVIDING CASH AND REBATES FOR CREDIT CAR_D USE AS PART OF A
CUSTOMER LOYAL"IY PROGRAM, IN CLA SS 36(1].5. CLS. ]00, 101 AND 102).

FIRST USE 10¢14~2014', IN C()MMERCB 10~14-2{.'||4.

THE MARK CONSISTS OF STANDARD CI'IARACTERS WITHOUT CLAEM TO ANY PAR-
TICULAR FONT, S'I“YLE, SIZE, OR COLOR.

OW'NER OF U.S1 REG. NOS. 2,411,329, 4,361,959,AND OTHERS.

NO CLA]M IS MADE 'E`G THE EXCLUSIVE RIGHT 'E`O USB "PO}NTS", APAR'I` FROM TTIE
MARK AS SHOWN.

SN 86-314,955, FiLED 6~19-20]4.

HEAT['{ER 'l`HOMPSON, EXAMlNlNG A'l`l`OR.NEY

Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 17 of 57

EXHIB|T 2

 

   
    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AGREEMENT Fomvl reedhein
EJSA H¢:adquarters Carlada Headquamsrs "'"'“-'" *“°m"‘_
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Lvnnwnod WA 98057 Surrev, BE VBI 513
1~355-735-3434 1-855~?534454
U.S. Fax: 1425-398“$.5‘155 ln Famon Tyler Fe!lczak
Owner/C|ient information
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Total Py~l¢a $4,935.00 11 1 1 1
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EXHIB|T 2
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TlMESHARE DESCR|PT|ON SHEET

x ilsl\ l~ooadquarters Canada Headqunrinns

 

 

 

 

 

 

 

3400 lamb St SW, 511th 300 2630 Croydon Dr
Lynnwood WA 9803? Suitu 200

1-855-733-3434 $urrev, BC 1132 613
l.l.$. l-ax: 1425-398-1595

 

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Rn-surt Ciub Name: Diamond Resorts CilV/S\'-RL'B/C¢UM\*Y= / f
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OWhEr lit 16530245 l\nnual Puinl'.s: Banknd Pc_»lnis:

 

 

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Login - Anniversaryl\nonth
Webslte www.diamondresorts.com

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-F|lmting Wr!czk UFIXECI We&k

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now much are your Maini. F¢.c.s. $167.23 How often? D_uarteriv imm wm lmtla|. 1_1,‘§1__§_1 M
Main!:c!nnn¢:n l'»¢.‘.c*.s past due amonnt?: $437.00 [:]N/A

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-Yes mms

An=: payments automatically wlthdrnwn?

E‘h'.s mNu

Approl¢inmm M<»rigugc lien owed $4,740.85

if nm, how much'r‘

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Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 20 of 57

EXHIBIT 3

 

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E)(HIBIT 4

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EXH|B|T 4

.. /'".`-#
timeshareexltteam

Date: 01/07/16
REEE\ HE|N 81 ASSOC[ATES LLC
3400 138*“ Si‘ SW Sulte 300
Lynnwood, WA 98037
1~855-733-3434

honest-inns owNEn exit AQREEMENT

nwner[s}: wages Eas§ [include Ai| Dwners]; |s/arc referred to herein ns the "DWNEl-'l", the
"’CL|EN'I'", “vou" or "your".

Tirnoshore F.xlt Team: REED i-iElN iii ASSDCIATE$ i.i.C, a Wushington limited liability compcny; is
referred to herein as "REED HE|N" or "wc".

DWNER desires to transfer hic!her “Timeshare” ownership. i.e. transfer title andfor membership
along with oil associated financial obligations icol|ectivel~,r. the "Timeshore ownershlp") with the
following resort, vacation or timeshare cluh: Qjamggg Reeog§ithe "iiesort"i. REED HE|N pl‘f>\i|d€l$ their
clients with o safe and secure transfer strategy for their Timeshare Dwnership, and guarantee as set
forth herein REED HElN desires to secure your ultimate objective to end your 'iimeohare ownership
and ali the associated financial obligotions.

For and in consideration of their mutual ondlor respective bonel’its, obligations and covenants
as set forth heroln, for which the bargaining for, the receipt of and the sufficiency of which are hereby
ni:l<ncn)rledgncll the undersigned parties agree as follows:

555 AMouNT
REED i-lElN's "'Fee Amount" for this Agreemont is §4935.00

The Fee Amounl: is payable in full upon the signing of this Agreernent, unless a financing document for
delayed payment is simultaneously signed, in which case such financing document is herein
incorporated by this reference the rca mount and any port thereof becomes immediately mmr
refundable except no may he set forth herein regarding the Guoi‘ontea.

FEE§ BEQ CDSTS

Under this Agraement there are absolutely no extra service fees or closing costs to bn owed or paid bv
the CLlENT to REED HEiN. However, some resorts may require a cancellation fee or similar fee to end or
exit on ownershlp, and such fee(s) may be required in your caoe. These fees will be no greater than the

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amount of this current ysar's maintenance fue. if so, the ¢L|ENT will be required to pay that fee to the
iiesort fur a successful csit. in addition, some resorts require all past maintenance fees to he paid upon
the completion uf an exit if required, these past maintenance fees will ice paid by the CL|F.NT.
Wheiher accepted by OWNER or not, an exit agreement obtained by REED i-iEihi from the Resort shelf
meet RF_ED i-lEiN's Guarentee even though the Resort may require the payment try 0WNER of an exit
iee.

§L]Ei!!’§ bUTiES

n. illness rcmsrnber that you own your iimesnare until the closing cf the exit is finalizad.
therapy relieving you of ownership; and you remain responsible fur ali financial obligations associated
with your T|mashare until the exit is completed 'i'he closing of an exit transaction usually takes 3 to 9
months but in some cases longer due to nason delays or restrictions

B. Finaiiy, the CLIENT must sign land notarize, ns requested'. typically deeded properties) and
send within Fouri:ean {14) days cf receiving them, any cline transfer documents required by the Resort
and/or REED i~iEiN.

alien l-iiiinl‘s uutlts

lively remaining duty in this Agreernent is for HEED HE|N to perform iii ordarfor you to successfully exit
your 'i'imashere Dwnership. ii REED l-iEihl cannot finalize yuurTirneshere Ownership for any reason
whetscever, you will ice entitled to s full refund of the Fee Amuunt. BL|T BE ADViSED: REED HE|N fully
plans on successfully completing your exit process so please anticipate and expect a successful closing
to secure the objective Tc got you out of your Tirneshara Dwnarship and ali associated financial

obligations
'I'HiS |§ NQ| 5 H§HH§ AGREEMENT!

This is a 100% certain solution Tirneshere murdersth Exit Agreement. This is not a listing agreement
where a timeshare ownership listing may sit unworked for months nor i=ee Agreement is l‘:il.iAiiAN`l“Ei-ii)
for complete performance itotai limeshare Ownarship exit including ali associated iinanciai obligations).

li\iDE EVIEW ADV|CE' llNi)lN ii E

OWNER is fully satisfied with the binding terms cf this Agreement. By signing below the QWNER
acknowledges that he/shc has had the opportunity to obtain his/her own independent legal and/or tax
advicev GWNER now wants to engage REEU HEii~i. Ai| terms uf this listeninth hummel binding upon
signingl and no Fee Amounts will ice refunded except es specifically set forth herein. lf there is any
dispute under our Agreontent, the laws uf the state cf Washingtcn shall apply with jurisdiction granted
to the Washington Superlcr Courts yenued in dnohonnlsh County. REEB HEIN"s liability under this
Agreement is strictly limited to contract damages nci to exceed the Fee nmount- Prior to any litigation,
the parties agree to first attempt good faith mediation

guam nw ali DEMLI -
iiEED iii.ilhl wants you to receive what you paid for land to he able to end your Timeshare Ownership
without unnecessary costs} As discussed on Page 1, you have few duties owed under this Agraament.

Pege-Z inltieiisii£i;f§. _ Date |~]~i§ 1,

'Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 25 di 57

but they ere important to ecoomnilsh in order to avoid e default end forfeiture of your deposited fence
Vou Wiil nth have a few dooument.'i to properly end timely sign. 50 please avoid en unnecessary delay
and nall immediately ii you think there could be any problem with performance (We con helpi)

EEMIEE

FlEED i-lEiN guarantees that lt will obtain exit agreement from the Resort regarding yourTimeshere
fiwnership, or your Fee Amoun'c wiii he refunded. This Guerenliee is met even though the OWNEl-'i may
not accept the terms of the Resort's exit ngreernentl Thls Guarantee is contingent upnn: (a} all
information that is provided to REED HE|N by the CLIENT as having been accurate end compiete, end ih}
full cooperation with the CLIENT to respond to any RF! l"Request For information”i by REED HElN or the
Resort. This Gtierantee does not apply to any transaction where the Ci.iENT stops or delays the exit
processor refuses to sign c procured exit orier. This Guarantee is valid only when the CLIEN'|' fulfills the
duties required of them. if the CLlENT delays the process or does not nroperiy or timely respond to
REED Hi;'lN’s requests, then the Gunrentee is void. lf the requested exit from 'l'lmeshcre Ownershlp
cannot he obtained, end ELlENT has fully cooperated with REED i-iEiN, the Fee mount you have paid for
thin Agreement wi|i be fully refunded

rser¢¢r end mark ore eee-',ieeizle sox}.-

n CL|ENT warrants that nic/her Timeshere is owned free and clear ol’ any mortgages or other lien
encumbrances.

§ Cl.iENT acknowledges the existence of a mortgage

hiGl-i'i' "i'€l CAMCE|. Tl-llS AQBE§MENI _
Y°'-l mar CHUC€' fm AEFEF-*mel"l vt nw time prior to midnight of the third {3“*) business dev after the
date of signing this Agreement. in order to be a valid cencellatlon, you must mall your signed
cancellation notice to ilEEi> HEiN’s address listed et'the top crthis Agreement, by certified mei!, return
receipt requesteni, postage prepeid. Pleese call us first for rapid resolution of any concerns. REED HE|N
hen never had o Better Buslness Bureau or Weshington Siete Attorney Eeneral com pleint, or any other
Form of government action in all 50 states end Canada, We plan on keeping this unb|einlshed record
with the doneumer public and our valued clients. So if anything concerns you please call us: we are
committed to making this a positive closing chapter to your timeshere ownershin.

NQ.'I.LC£.S.
Any notices or other dommul'ii¢ations desired or required tn be given under this Agreement shall be in
writing end sheli he sent by oertiiied- meil, return receipt renoexitedl postage prepaid to REED HElN to

their address listed et the top of this Agreement, nnr.i/in'f to the DWNER to their address listed in the
attached Membershlp Processing form.

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§Q§!§; A'l‘l"£}kf\_\§$ EEEB

if any dispute should arise between the portion the prevailing party shell be awarded by the court its
reasonable costs and emenses, including reasonable attorneys tees.

BuCC§SSDRS AND ASSIQBQ

Thi$ Agreemom: shall be binding upon and shall inure to the benefit of the barrier hereto and their
respective successor$ end onsigns. REED HE|N may assign this Agreement or all or any part ofito rights
and obligations hereunder to one or more parties without the consent of OWNEFL

AMENDMEN §§

Th`is Agroement may not be ohanged, modified or terminated except by o written instrument executed
by both parties hereto.

ENT|RE A§BEEMEUI

This Agreen“lent contains ali of the terms agreed upon between the parties with responi:to the subject
matter hereof and supersedes any and all prior written or oral understandings.

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RE£D HElN unauthorized Agent: gate ¢’l/Wf’.?

 

 

reedhein

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EXHIBIT 5

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timeshareexltteam

Things `i'o Remember

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if you have not received a We|oome entail train heed Hoin within 3~5 days please check your spain/junk ‘
foldor. lvlany times erneiis from us end up in client°s spam;junk folders instead of their inheres. so when
you receive your Weioome erneli, add the entail address to your contacts so oil future entails will go straight l

to your inhox. lf you still have not received any emal|s from vs please oailthe client advisor you signed up l
with so we can solve any small nroh|erna.

DC} N¢'i' ¢All. the Timeshare Company at nil, even ii" you are]ust asking if they have heard from us or whitt
the current status lsi m contact from you to any of tila parties involved besides mind i'iuiri iii A$-w¢iaf€$

will cause the entire process to slow down end in most cases prolong your enlt. Pleaso remember that you
have retained us to handle this exit for yuu.

We do not communicate or release you frorn debts that are hold bythird party lenders.

00 NDTTALK to anyone front your Timeshare Company or ¢‘.'oi|ootion agency unless told to du an by need
HE|H &ASSGC!BTBS- Tl'i\i\\l Wi|l make a lost ditch effort to bombard you with calls during the time period
before they must comply with any cease end desist orders if you answor, simply hong up. other 30 Days,
always got their name and contact info including fair number and correspondence address and forward that
to us so we san send notification again or directly to that individual or department

Piease remember that the iestthlng most of the tlmeshare companies want i'r to release documentation
that admits their agreement to lot you out oi’your contract. til<e we said before, we will get you a copy of
such an agreement if we oan, but regardless if we are able to, we will give you on ornoiai notification from us
that you have been released in cases where the time-shane was deeded, you con make a copy of the quit

claim once it has been notarized before sending ii book to lis which releases your name off of the timeshare
permanently.

 

$TAY PDSI'|'NE_. we Mget you out of your timeshareis) and ali future associated tinam:ltll obligations Dur
C|ient Nlanegers work with an attorney to unit your tlmuhare. Thls process can seem very slow et times as
the timothure companies will drug out the process as much as possibie. Piease do riot dospllr, we Wll.l. got
you out. it'n riot a question of iiir only a question of WHEN. W_L=.MME§_[E

FLEASE 'i'ELL as many purloin nn you nan that The mm has gotten you out of your timeshnre
when you have been aidtad. lust remember that because oi'the confidentiality agreement you €ANNOT

SAY the norma of the iimeshnre Cornpony or hosort. Rernember, if you send us a referral and they sign up
to got nut qu their timer-hardy WE WILL SEND YGU $‘.\50"!

Untlates regarding your exit process will be entailed or mailed out monthly.

Reminder, your Client l‘viunager is the liaison between you and our attorney. if you have any questions or
concerns that you would like addressed please contact your §H_anLMgn_agoL.

reedhein

o nssooin'riis
3400 188"' Street Southwest, Suite 300
Lynnwood, WA 98937

 

 

EXH|B|T 5

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EXHlBlT 6

Case 2:17-Cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 30 of 57

St. Crc)hitl E|lon

From: Legai

Sent: i\/ionday, Noyember 06, 2017 10:17 AM

To: Si. Croi)<, E||on

Subject: FW: 518075 :A notice from the Washingtori State Attorney Genera|'s Oifice
Attaohments: 518075A.pdf,' 518075B.pdf; 51BO7SC.pdf; 5180750.pdf; 518075E‘polf

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Frorn: ATG Nl| CRC Compiaint Processing (prodappcib} [meiitc):crccomplaints@atg.wa.goy}
Sent: Monday, i\iovember 06, 2017 10:12 Ai\/l

'i'o: Lega| <bagsl.Department@diamondresorts.com>

Subjeot: 518075 : A notice from the Washington State Attorney Genera|'s Oifice

[This message Wes received from an external gondola Please use caution Whon opening any attachments 01‘ links

Within this e-ma.ii.] @ l 0 \ §

Bob Foi‘guson m_

ATTORNEY GENERAL 011 WASI~RNGTON ‘ i..-i'i " U/i \ii_j §§}/y\_@j\

Consumer Prutociion Diviaion
800 Fifth Avenue, Stiite 2000 Soettle, WA 98104 (206) 464-6686 G©i§

Novombei' 6, 2017

Diamond Resorts lntei‘na,tionai
1060(} W Chel’leston Blvd
Las Vega.a, NV 89135

so n-A-

File #: 518(}75

EXH|B|T 6

 

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Dear Diamond Resorts International:

The Consurner Protection Division of the Attorney G'eneral‘s Ofiice received the enclosed complaint filed by
P-A-regarding your business Our office provides an informal complaint resolution process to
consumers and businesses to assist them in resolving disputes Many businesses find tl'iis informal, voluntary
process beneficial in resolving complaints Witb their customers

Our office acts as a neutral party throughout this process and facilitates communication between consumers and
businesses to assist the parties in resolving the complaint We are prohibited by Wasliington State law front
providing legal advice or representing either party. Our office monitors consumer complaints for possible
indications of patterns of unfair or deceptive trade practices Warranting further attention by our office

Our office requests that you respond to this complaint in Writing Witbin 21 calendar days from the date of this
letter so that We may determine how to proceed in this matter. Our preference is to receive the response by`
email at CRCComplaints@ATG.WA.GOV. We Will provide a copy of your response to the consumer. Please
reference tile file number 518075 in your response

Please note that consumer complaints, including resp onses, are public records and are available to the public for
copying or inspection in compliance With the Wasln`ngton State Public Records Act, RCW 42 56.

Tbanlc you for your attention to this matter. lt` you have questions or Would like to submit additional information
regarding this complains our entail address is CRCComt:)laints@,ATG.Vl/A.GOV. Please include the complaint
number given above on any complaint correspondence

Sineerely,

ANDRBW F. WU

Consumer Resource Center Specialist
Consumcr Proteci:ion `Division
1-800-551-4636 for iri-state callers
1~206~464-6684 for outwof`~state callers

Enclosut’e

 

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COMPLAINT SUlVH\/IARY

Consumer Information

Name:

P-A-

Address:

i-

Day Phone:

Evening Phone:

E-mail Address:

Age Group (optional):

Not Specified

Are you a member or former member of the U.S. Armed Forces, Guard, Reserves or a dependent?
(optionai):

l\lot Specified

If Englisli is not your first language tvth is your first language?

 

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Do you Want the Attorney General's Office to send this business a copy of your complaint?

Yes

Nalnes and addresses of any other complainants involved:

Business Information

Name of business that I am complaining about:

Reed Hein & Assoeiates LLC

Acldress:

3400 lSStli St SW Ste 300
Lynnvvood, WA. 98037

Phone:

(sss) 20?'~2722

Toll~l€`ree:

Fax:

E~mail:

vourexitteazn¢l@,reedhein.com

Nalno of owner or manager (if known):

 

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Names and addresses of any other businesses involved in your complaint:

Diamond Resorts lnternational
10600 W Cllal‘leston Blvcl
Las chas, NV 89135

Iteln or service purchased:

Cost of item or sel'vice:

3497.00

Did you sign a eoni:ract?

Date of transaction:

08/21!2015

Salesperson's name:

Was an advertisement involved?

Date and source of advertisements

About Your Coxnplaint

Have you complained to the business?

 

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If YES, to whom (include position)?

What response did you receive?

If you have not contacted the business, explain Why:

Have you filed a complaint about this business with the Attorney General's Oftice before?

If yes, list the file number assigned to that complaint:

Have you contacted a private attorney?

If YES, identify the name and address of the attorney:

ls there a court or other legal proceeding pending?

Ii` YES, please explain:

Explain your complaint in detail:

We have had a timcshare With Premiere Tv’acation, aka Diamond Resorts. On August 21, 1015 We retained the
services oi` Reed Hein & Associates alia TimeShareEXitTeam to legally exit us from our timeshare. At the time
We entered the contract all mortgages to the timeshare Were paid in full and all annual dues and fees vvcre paid
current We prepaid the fee oi` $3497.{}0 to Reed Hein to perform this service. We Were told it Would take 3 to 9
months to exit the timeshare. Reed Hein instructed us to stop paying any dues. Reed Hein also had us request
that all correspondence ti.‘o.m Diamorid Resolts now be sent directly to them, Reed Hein. We requested monthly
apdates on the status from Reed Hein. We vvere continuously told that "the process takes time,” "the attorneys
are Worl~o'ng on i ',“ "more and more people are Wanting to exit their timeshare so the timeshare companies are
coming down harder," etc. We Were then notified that the process Was delayed even more When our timeshare
Was sold to another company so our Exit 'l`eam would have to restart negotiations We could never get a real
answer as to What vvas happening With our exit. On July ll, 2017 We received a. phone ca11 from R.eed Hein that
an agreement had been reached to exit us from the time share As part of this agreement We Would have to pay
dues that Were now past due, plus any late fees and interest aecrued; as Well as a $750 transfer fee. When l
asked for that total figure l Was told l would have to contact my timeshare company Not knowing Who it had
been sold to (as l had been previously told by Reed l-lein) l asked Who to contact IWas given the ilii"onnatioa of
6

 

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the company that had it when we retain Reed llein's services two years prior, lmmediately red flags Were
waving. l called Diamond Resorts and was told that we had $1376.8 8 in outstanding dues, fees and interest The
two figures combined was more than $2000 more ~ on top of the $3497 we originally paid. l contacted Reed
llein back that day and told them l wanted to see the exit agreement in Writing; l want to see the terms and
conditions of the agreement They refused then and still continue to refuse to provide anything in writingl l
informed them we would not blindly pay an additional $2000 without something in writingt l made several
requests for something in writing from the time of the phone call on luly ll, 201'§" until September 18, 2017. All
the while they kept pressuring us to just pay the past due amounts Their last answer was that the final
agreements are not wlitten up until after confirmation has been received that we have paid our past due
amounts Knowing that the next year‘s assessment fees were coming up due l was seriously considering just
paying the past due amounts to move the process along without f\nther costs to us. On Sept 18, 2017, l
contacted Diamond Resorts again to confirm amounts and to make a iinal decision as to whether to pay the
outstanding balance lt was during this phone call to Diamond Resorts that l was told that our timeshare had
been foreclosed upon on August ll, 201?. Wc no longer owned atimeshare. l was also informed that other than
an initial phone call from ReedHein back in August 2015, Diamond Resorts have not received anything from
Reed l~lein - no other phone calls, no Written correspoinience7 nothing informing them that Reed llei`n represents
us ~ NOTHING! !I Two years and nothing! l was also angry that during my phone call with Diamond Resorts
back in luly ~ nothing was said, hinted towards, or communicated that our accomit/timeshare was in a
foreclosure status We were kept completely in the dark by both companiesl l immediately contacted Reed

tim "* jrH'c‘~:ini*l"requested'answem'asto what is happeimigf,"l requested"a;'daily"l'edger 'of'work completed ontouriile; and ' '

l requested a resolution to the foreclosure » making sure they knew that they would have to pay any and all fees
associated with getting the foreclosure reversedfl'ixed,whatever and exited correctlyl They need to handle it and
do it quick Suddenly they will not realm any of my entails or answer any of my questions l finally filed a
complaint with the BBB on October l9, 201'?. ln that complaint l informed them that l would be contact the
Attorney Geneial. Within 24 hours of filing that complaint l received an email requesting proof that l resolved
the foreclosure What?!?! l have not received any of the work that l paid for, l still have nothing in writing, l
have no idea where my file stands They will not respond to my communication All the signs point to
fraudulent activity on the part of Reed Hein as well as l)iamond Resorts since nothing was connnunicated about
a pending foreclosure

What do you think the business should do to resolve your complaint?

Explain if you have circled 'Other':

SIGNATURE

l acknowledge that my complaint and attachments, once submitted become public records and may be
disclosed to others in response to a Public Records Request. Complaint inforn'ration received by this office will
be exported into the FTC’s database, Consumer Sentinel, a secure online databasel This data is then made
available to thousands of civil and criminal law enforcement authorities worldwide

l declare, under penalty of perjury under the laws of the Sta'te of Washington, that the information contained in
this complaint is true and accurate, and that any documents attached are true and accurate copies of the
originals

 

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l authorize the Washington State Attorney General's Oflice to contact the party(ies) against which l have filed
this complaint in an effort to reach an amicable resolution l authorize the party(ies) against which l have filed
this complaint to commtmicate with and provide information related to my complaint to the Washington State
Attorney General’s Office. By selecting NO below, l acknowledge that the Attorney General's Off`lce will not
contact the party(ies) named in my complaint and will not attempt to facilitate resolution of my complaint with
the party(ies), My complaint will be kept by the Attomey General’s Oftlce for informational purposes

signatureP-A- pate 10/26/2017

Received via the lnternet

City and State Where signed San Tan Valley, AZ

Please consider the enviromnent before printing

 

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" Gmail » Reodt~lein & Asso oiatos »» Foroolosuro Rosoiotion https:/fmail.googio.oom/inail/n!O/?tii=Z&ik=o§1fl9f4fa&jsveL=GC10...

]0{"2

 

|_orrin-oroA

 

Reedi-lein & Assooiatee ~ Foreolostire Rosolution
3 meeeages

 

Timeshare E)cit Toam 4 <yourexitteem4@l'eedhein.com> Thul 06119,2017 st 2:38 Plvl
ollillllllllllwow

Heilc»_l

l hope you are doing well. Standard Tirneshare Transfere is requesting documentation showing the resolution of
the foreclosure Plaese provide that et your earliest convenience

Thanl< you
Erin 3est

Your Exit Taam Aocount Coordinetors

Offioo l-loors: ivi~`l'h 9 sam-430 pm, Fri 9 arn-3110 pm PST

pt 205.347.8819 end 225 pi'f: 425.398.1995

w: tlmeshsreexlitearn.oom e: youre>citfoam¢l@reedhein.com
at 3d00 lBBtl‘i Si. SW, Suite 300, Lynnwood. WA 98037

ivMEaHnae;anTsaM*

      

 

 

 

 

 

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permanently delete this message Thanl< you for your cooperation -

 

@gmaii.com> rho, oct 19, 2017 et 2157 nn

To: Timesnaro l':)ot learn 4 syourexltteam4@reedhein.oom>
C<=:_eoreo~

Erin,

Thanlc you for your correspondence Can you please explain to me Whei you are requesting? We do not know
vvhat o "!‘oeolution of the foreclosure” is? And why would We need to provide documentation for something
resolving the foreclosurel -

`l'he foreclosure is Reedl-iein's doing and they must resolve the problem

”i`henl< you,

il'-“-

10f26/2017, 1:44 PM

 

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§ Gmai] s R.eodHei.n & Associatos - Foreclosuro Rosolution htips:/fmail.google.com/mail/o/U/'?uil£&ik=o§1f19f4fo&jsvet=GCIo...

Sent from my lPhone
[Quoled text hiddenl

 

@gmail_corn> Thu, OonE, 2017 a112:'12 Pl\"|
To: `|“lmeshare E><it Team 4 <yourexitteem4@reedhein.oom>

e=_@gmai-wm>

Hs|lo E><it Team 4.
l am still waiting for a response from my small on the 19th (i Weel< ago todey).
Thonk voui

r-a_i

[Quoted text hidden]

2 ofj ' 10!26/2017, 1:44 .PM

 

 

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|
§ * Gmnit » Itoedi~lein tit Associates ~ Premiorc Vocoti on Club https;//mai'l.googio.com/mniiiu!U/?ui=€&ik=c§ i let'¢ifa&jsvor==GGio...

` error _@n…»

 

 

Reedi-Iein 81 Associatee - Premiere Vacation Ciub
9 messages

 

Timesharo E)tit Tearn 4 <yourexitteamii@reedhe|n.com> Fri, Ju| Zi, 2017 at 9:58 Ailli

To= Fi_t\_@omni-wm>
i~ieiio P- a .i-

Wo hope you are both doing weii. l~iave you been able to become current in your account with Diarnond
Rocorta? Pieaee provide proof of payment when you are able

Thenlt you!
Erin Befus

tour E><ii Toann Account Coordlnatore

    

Reodl~iein & Assooletes
pt 206.347.8819 ext 225 p.l€: 425.398.‘1995 “"H“
w: timeshareexliteam.oom e: youre)t|tteam4@reedheln.com BHB.. ii

5¥§§¢_;§°-

    

or 3400 1BBth Si. SW, Suite 300, i_ynnwood, WA 98037

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attachments is strictly proh|blted. Ii` you received this electro nic transmission in error, please reply to the above-referenced sender
about the error and permanently delete this message Thank you for your cooperationl

 

|_iomaii.¢i>rn> Fri, Jul 2‘1. 2017 at ii 22 nl\i

To: ”i'imeehare E)ilt Team 4 <yourexitteam4@reedhein.corn>

Thank you for your emoil. We are Waitiog for the documentation that l was told is being mailed to ue, We would
iiite to soo everything in writing before we pay any additional funds to any entity.

Thanit you,

J-Bnd P-a-

Sentirom my iF’hona
{Quoted text hidden]

 

Timesloare Exit 'i`eam 4 evouroxitleam»d¢@reedheln.com> Wed, Jul 26, 2017 at 9:37 Alvl
o -_@ima.em>

noia i-' and n-|

l of'? ‘ 10/26/2017, 1:47 PM

 

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Gmeil ~ ReodHoin &, Assooiates -- Premioro Vacaiion Clul) hitps:/fmad.googls.corn!mnilfo/O/?uiN&ilc=-“c§l l"i 9f4fa&_jsvor=GClo.,.

l have reached out and asked to see ii they can send out the documents botora the past due bolanos is paid.
i\lormally Standard ”i“imoshare Transiers needs to ssa proof of payment before they are able to have the
documents drawn up. l will reach out and let you know their response as soon as | hear back from them

Eest regards,
l\!lellssa

Your E><ii Tean‘i Aocouni Coordinators

Reedi-iain & Associaios

p: 20$.347.88“19 o>it‘ 225 pi‘f: 425.398.1995

w: tlmashareexlttaam.com e: yourexittaam4@readhetn.com
sr 34th iBBth Sl. SW, Suite 300. Lynnwood, \NA 98037

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IQ noted todd hiddoni

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_@gmallloom> rnu, .mi 21, 2017 a r:os Pivl

To: Ttmasharo E)<it Taam 4 <yoursxittsam4@reedhein.com>

Thanl< you for reaching out to got the documenis. lam not comfortable blindly paying tha amount when l have no
proof myself that an agreement has bean reached and Whai those terms ara.

Yas, t did receive a verbal phone oa|t, but you are asking me to go off ot what someone verbally told me. l vvant to
make sure that it ls in writing and everyone is in agreement before | pay that amount of money l don'twant
surprised i doni: want to got another phone call saying, "Oh by the way,,.wa nasd you to pay for this too." l want
to make sure that once l have paid what i agree to pay that t am done.

Thio has taken 2 yosrsl Way too long for me to see any results from paying what we did to Reedtiein. ijust want
to be done once and for ali_

'l'han|<si
t - n-
{Ciuoted text hiddsn]

 

'i“imosharo Exit Tsam 4 <vouroxitteain¢i@reedhoin.con‘l> lVlon, lll.il 3“| , 201?' at 4:57 Pii/i
To:_@small-wm>

Hi P-

Standard Tirnesnaro transfers has let us know that they wlil need proof of payment before they can draw up you
exit documents

2 01°7 ~ 10!26/20.1?, 1‘.4'?1’]`\'1

 

Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 42 of 57

a Gma'il - RcedHein &, Asscciates ~ Premierc Vacan`on Club hti'ps:i!maii.googie.com/mailhi/O/?ui=Z&iic#cS1f19f4fe&jsvcr=GCIo...

`30f7

Vlhth this offer, there is a transfer fee ci $?50.00. Reecii-iein will be covering $256.?4 of this transfer fee and your
responsibility is $493.26. The other requirement is that you are current and remain current through the transfer
processl

`i‘hanl< your

Besi,
Jennifer Mofiitt

\’our Exlt Team nccount Goordinators

Dfiioe i~iours: M~Th 9 eni-430 pm, Fri 9 am-S:$O pm PST
p: 206,347.8819 ext. 225 p!i: 425.398.1995

vv: timeshareexltieam.com e‘. yourexitteam¢i@reedhein.com
a: 3400 188th St. SW, Suite 300. Lynnwoocl, WA 9803?

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@gmeii.com> Tue, Sep 5, 2017 et 9:28 AiVl

To: 'l"imeshare E)<it Tearn 4 syourexltteam4@reedhein.com>
ea_@gmeI-Com>

l-ielio E.)iit Team,

i'~'irsi i would |li<e to make a request to have one [1) single point or contact person that | may communicate back
and forth With. Piease let me know who can rio that so l am not contacting a general in-box as l Worl< through this
process

Second, l was told in the previous entail that l cannot have anything in writing as l requested untii AFTER i pay
fees. That le not going to happen |n this day and age, l cannot imagine that an agreement rives reached Wiih the
timeshare company without the general terms being in writingl i am not asking for rny specific contract But l insist
upon seeing in writing, what the requirements are before we pay out another $2000_

'i`hirci, When i Was verbally told that l Would need io bring the maintenance fees current in order to proceed with
the exit i expressed some serious concern iviy husband and | had always kept our fees current However, when
We retained services through Reedi"iein, under the direction of ReedHein and with great concerned expressed st
that tirrie, We stopped paying those fees l worried about late fees end interest accumulating and Was told that we
would be out of our time share by then. i\iow, two years later i arn being told i have to pey- thoee. i am not happy

10;".26)‘2@17 , 1 :47 PM

 

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§ Gntail ~ ReedHein & Associates - Prerniere Vacation Club itttps:r'/maii.google.comfmai]/ult)/?uteZ&,iFo$lfl9f4fa&jsvet¢GClo...

about this arrangement On my phone call on duly 'l'ith. i was verbally told that Reedl-lein would reimburse us for
the cost of the late fees and interest We would pay our actual maintenance fee and Reed Heln would take care of
the rest l asked to see this agreement and information in writing With ReedHein and have yet to see anything
come from that. How does this get worked out? Do | pay the full $1376.88 and get reimbursed the $448.40 from
Fteedl~ieln? i-iow soon can i expect to see that? | need details

Finaiiy, i see it stated that for the $?50 transfer fee, Reedi~|ein wiii cover the amount over our maintenance fee,
per our signed contract However, l do not know where the figure $493,26 came from. According to the
maintenance statement from Premiere Vecation, the last two years have been $463.85 and $464.63 respectively
The two years prior to retaining service, 201-n and 2015 were both around that amount as weii. Pieass explain to
me the where Reecil-iein obtained this higher figure And as with the maintenance fees. l have questions Do |
have to pay the full $750 and then get reimbursed the difference or do i just pay my portion end Reedi-|eln covers
the different up front?

There seems to be a lot of holes in the process and how this works end l can’t seem to get any solid answers |
now question my decision to retain services through Reedi-iein. l don'i know that iwouid recommend this
company to anyone. | need to get fast answers so we can get this worked out and move forward with needs to be
done

Thani< you in advance for your assistancel

r-ane-r-

[Quoted text hidden]

 

Timeshare Exlt ream 4 <voure><itteom¢i@reedhein.corn> Tue, Sep 5, 201? at 3:29 Pivi
re _@omaits<)rn>

se _@gnel-em>

Heiio J- and F-,

Your file le currently with Tearn Four, which consists of i\iiicheie Anderson. iiiieiisea Lindeeth, Janeile Rocn, Erin
Beiue, .Jennifer rulothtt, and myself Katie Sui|ivan. When_you smell us. your inquiries are received by the tesrn, of
which any of us will be able to access your case information and discuss your concerns with you. There may be
cases where you talk to one of us multiple times, but you wiii work with ali of us for the duration of your exit.

Standard Timeshare Transiers are not able to finish preparing the documents for transfer until they receive proof
that the account has been paid and ls currently in good standings. Tne agreement reached between Stsndard
'i`lmeshare Trahsiere and the resorts they work with were established before Rsedhein started Wori<lng With
Standard Timeshare Transfers. A customer must meet specific conditions for this transfer to go through, the
conditions being not having a mortgage becoming and remaining current through the transfer, and paying a
transfer fee to the resort. 'i'hese are how Stanolard `i"uneshere Transfers determines if you are eligible for these
pre»sstab|ished offersr and why we were able to present lt to you, You did not have a mortgage so we were able
to present the remaining basic conditions required to release you. if you would like to know more about the
opportunity with Standerd Timeshare Transfers i would be happy to go over the process with you.

Reedhein and Assoclates is a consumer protection group who works with vendorst such as Btandard Timeehare
Transfers, who facilitate the exit for the customer with the resort Standard Tlmeshere ‘i‘ransfers has established
agreements with certain resorts to release customers who meet certain conditions These conditions as
mentioned above, are that the customer does not have a mortgage The customer must come current on any past
due balances on their accountl and they must continue to remain current on any bills they receive or that will be
received during the transfer process ”l`here is also a settlement offer requested by the resort for this transfer
process

in your oase, the total transfer fee is $759.09. The contract you signed with Reedhein states that you will not be

responsible for more than one years worth of maintenance fees (deterrnined by the year you signed on with
Resdhein) towards a settlement fee. When you signed oh with Reedheln, you fitted out a.Timeshare Description

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§ Grnnii ~ ReedHein & Associates » Premicrc Vacation Clui) https:/lmntl.googic.com/mall/u/Of?ui==2&il<=c5lft9f4t`a&jsye1a=GClo...

Sof'i'

Sheet that stated your maintenance fees were $493.26, which is why you are responsibie for only $493.26 of the
transfer fee, and Reeciheln witt cover the remaining $256~'?4. Reedhein witt pay the full transfer fee for you up
front, and reach out to collect the reimbursement of your portion at a later date before the transfer is complete

Standard Timeshare Transfers is in the process of preparing transfer documents for the official transfer process
As you have a deeded timeshare, they witt be sending you a deed in the packet of transfer documents to
relinquish your ownership Once the documents are received by you, you witt ftii out the required information and
return the documents back to Standard Timeehare Transfere. They are processed by Standard Timeshare
Transfers in the order that they are received Once they start processing your specific fite, this is when the
verification process starts Your account information witt be verified and they witt ensure that everything le ready
for the transfer process if anything additionet ts necessary1 they witt reach out so that we can share this
information with you.

When your documents are veritled, this is when the iBO-days of financial responsibility starts The transfer length
for Diamond timeshares is approximately iBO»deys, and you Witi be responsible to pay any bills that may be
received in this time. Given the current timeframe, as you are billed annuatly, you may be required to pay the
2018 maintenanco fees before the transfer officially begins as you witt receive that bill within your 180~days.

When you are bitled, this puts a balance on your account if there le a balance on your account during the transfer
process1 everything must be put on hold before the transfer can proceed, as you must maintain a zero dollar
account balance To ensure that the process moves along smoothiy, you would have to prepay these fees and
provide proof of that payment if for some reason the transfer process passed the 180-days Standarrt Timeshare
‘t“ransfers takes over the financial responsibility after the “tBu~dsys white they wait for the transfer to finalize Once
complete. Standard Tirneshare Transfers notifies us ct your release, which we would share with you as wett.

tn regards to your maintenance fees, it may have been suggested to stop paying your maintenance fees,
however, your contract does state that:

P|ease remember that you own your Tlmesitare untit the closing of the exit is finalized, thereby relieving
you of ownershlp; and you remain responsible for att financial obligations associated with your Tirneshare
until the exit is complete

title do acknowledge the suggestion of non»payrnent, which le why we are offering to cover tate fees and interest
that may have accrued on the accountl l do see that Osman acknowledged this offer in a note irl your file. How
this Wouid work is, you would reach out and come completely current on your payments with the time-share so
that your account carries e zero doitar account balance ‘r'ou would then request that Diamond send you a
statement showing the breakdown of all of your fees, showing epecitical|y what the tate fees and interest may
have been and that you brought the account current `t'hat information would then need to be provided to
Rsedhsin so that we could see how much the tate fees and interest amounted to, and have this approved for
reimbursement You would be required to come current and provide us with a statement showing the fees to be
reimbursed the late fees and interest that accrued on the account

l know this is a lot of information, so piease do let us know if you have additional questions

Best regards
Katte Sui|lvan

YoLlr E>dt Tearn F-.ccount Coordinators

Ofilce t-lcurs: Nt~Th it am~4:30 pm. Fri § arnh3:00 pro PST
pi 206.34?‘8819 ext. 225 pif: 425.395.‘1995

w: ttmeshareexitteam.oom e: yourexttteam4@reedhein.com
at 3400 tBBth St. SW. Suite 300, Lynnwood, WA 9803?‘

   

lUiZiS/ZOW, llli'i PM

 

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|_@omalI-com> non cap 18. 2017 at 10:05 nn

To: Tlmeshare Exlt Tearn 4 <youre><itteam4@resdhein.com>

cc=l_'@gmde>m=~

Hellc Team -

Flrst cf a||, l am still not happy about not having a single direct person to contact about this E)<it. |, as a customer,
would very much prefer having a single person that knows what is going on with my file that l can speak wlth. |
have requested that multiple times and my request keeps getting pushed underthe rug, for a lack cf a better
term.

Against my betterjudgement. since my requests of ReedHeln still have not been completed1 l contact Dlerncnd
Resoits today to get the Assessrnont F~‘ees paid current so we could move forward and just be rid cl the time
share once and for all. This tlmeshare and dealing with Reedl~|ein is a grievous thorn in my side

thn l called Diamond Resorte l was transferred to the foreclosure departmentl where l spoke with Diemond at
9:35em local time lwas informed that our time share was §oreclosed on as of Aug iith. l told them that my
account has been with our attorneys office for over two years now as we were working on exiting the time share
Diamond's response was "Obviously your attorney didn't follow correct prctoool. We received one phone call from
them back in 2014. Other than that we have had no contact with them lt would be like you calling in and saying. il
want to exit my time share.‘ That doesn't mean you have exited it Unless the correct process is actually followed
and completed we move forward with foreclose re.“

f now need some very quick and accurate information as to what is going on. l dld not receive one single
notlflcation from Dlamcnd Resorts or ReedHeln about any cf thisl ReedHeln was supposed to have our back on
this We hired ReedHeln to represent us and do what needed to he done and it clearly has not been done and/or
done correctly To say that l am upset right now is a severe understatement

Wa contacted Reedllein off ct a referral from Dave Ramsey's wehslie. l am ready to contact his company and let
them know of my experience with ReedHe|n. in addition to this, l believe l will contact the BBB and let them know
as weli. l will also be pulling our credit reports lt this shows up negatively on our credit in any wey, l will also
consider contesting another attorney ligate against ReedHeln.

Thls has been drawn out over and over with what seems like excuse after excuse As mentioned before l have
still yet to get the information that l have requested Ancl now | get this news?l?l

lwant to see a log of exactly what has been completed on our file. l expect answers immediately This is an
unacceptable situation

Thanl< you!

F:-’i-l

10/26!'20]7, 1:47 PM

 

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[C!Llu¢€sd text hidden]

|_@Qmsil.wm== Wed. Sep 27. 2017 @t12101 PM

To: Timeshsre Exlt Team 4 <youre><itteam¢t@reec|hein.cc)m>
Cc=_@gma".<>om>

 

HB!|\'J Team,
l sent an email last week, Sept 18th, requesting Immediate contact and answers lstlll have not received any
correspondence from ReectHein. P§ease Eet me know the status and what is happening on our account

Than|< you!

P-IA_

[Quuted tle hidden]

]UY26£3017,1:47 Pdd

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Case 2:17-0-\/- -03007- RFB- VCF Document 1- 1

P}g,mtsi'é Vacation Coltsction 0wners Associnticm. lnc.
Assessmenl Fse Depatlment

10600 West Gharleslon Bou|evard

Laa Vegas, NV 69135-1014

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2015 Assessment Fee
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Visit our new MY CDMMUN!TY area at DIamondResort-.;.uom for the latest devetopments within the Ass\aciatiun.
Ptease make check payable to: Premiere Vac:at§on Co|lecf:lon aners Assuclation, inc.

 

F'remters Vacafiun Cotleoticn Owners Association, tnc.
Assessment Fea Deparlment

10600 West Chanleston Boulevard

L.as \J'Ggas, NV 69135-'|€}'|4

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Log in to your account and select Payments
from within the t\r'ty !~\ccounts section

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? Click Register

3. Fca|low the on|ine instructions

4, Once complete, a confirmation e~ma|l w|l|
be sent asking you to validate your account

5. You can now pay your fees on|'lne!

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2015 Assessment Fez:_

Account #: ' l

Due Date: Jan 1, 2015
Staten'ient Date: Nc)v 20, 2014
Amount Dus: $449.00

Maks Checlc Payahte to:

Premiers Vacstion Gol|e'ction
OWners Associé\tton, |nG‘

PO Box 863596

Or|ando, FL 32886-3596

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Pre_i_ ` re Vscaiion Coiieotlon Ownors Aosociation, inc.
` easement Foo Department

10600 West Ohar|oston Eioulevard

Les Vegas. NV 89135~1014

 

 

Save your association credit card fees.
pay by check (US funds on|r}

Contact us regarding your statement

US Toi| Froe 1.877.3?`4.2582
international +-1.702.635.30?7

    

 

Case 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 48 of 57

2017 Asses$mnnr mm
Account#:

Amount bue

Save money for your association and
PAY '¢’OUR FEES C\NLlNEi

tag in to your account and select
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Plortsa detaci\ end return coupon with payment

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10600 West {}harieston Bouievo rd

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DIAMON 13 RESORTS

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Stay Vacstioneol."

 

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G!O tow Otiices Ot` M|‘tche|| Rsed Sussman
1053 S. Polrn Canyon Dr.

Pe|m Springs. CA 92264

2017 Aseessrnent Foe

Ar:oount #:

Due Daie'. Oz-ciui-zu'ir
Statement D_aie: i 1»Jui~2t) 'iT
Amount Duo: $ 1,376.55
liiiake Check Payahie ’To:

Proinlere Vaoation Co|iection
Owners Associntlon, ino.

90 Bo>t 863596

Orlando, FL 32886-3596

 

 

 

 

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soon teeth sr svv suite soo
Lvnnwood, W/~\ 9303”.»'
1-355~733-3434

"i°ihii§§i‘ti@tti§ @WNER Eit|"`l“` A@REEMENT
;1`_ et i",,._ /4|_|
Dyvrier(si/:z ' k i [inclucie Aii Owners]; is[ore referred to herein as
the ”OWNER”, the ”CL|ENT”, ”you” or “youi".

Tirnoshero Enit”i`earn: iiEiEt} HEiN iii ASSOC!ATES LLC, s Washington limited liability company,' is
referred to herein ss ”REED HE|N” or ”we”. _ i,

OWNER desires to transfer hisjher .'"l“lrneshare" ownership, i,e. transfer title endfor membership
along with ali associated financial obligations (co||ectivoiy, the ”'i'imeshare Ownershtp”) with the
foliowing resort, vacation or timsshare clnlo: iv /.r¢)eii 'J{J snf/353 /'€¢‘E€l"r) »'? V( iihe
"Resort"i. REED i-iEli\l provides their clients with a safe and secure transfer strategy for their Tirneshe re
Oyvnership, and guarantee as set forth hereln. REED i~i Eti\i desires to secure your ultimate objective to
end your Tirneshare Ownershio end oil the associated financial obligations

For and in consideration ofthoir mutual ondfor respective benei""its, obligations and covenants
as set forth herein, for which the bargaining ton the receipt ot end the sufficiency of which ore hereby
acknowledged the undersigned parties agree as follows

FEE AS\ROUNT did

r:> , -- -»"’
` REED HEli\l's”FeeAmotint”furthis Agreementis§ 3 iii g ?

The Fee hmount is payable in full upon the signing of this Agreernent, unless o financing document for
delayed payment is sim uitoneo usly'slgned, in which case such financing document is herein
incorporated by this reference The Fee Amount, and any hart r.hr.\reoiJ becomes immediately non-
rer'undebie except as maybe set forth herein regarding the Guernnt:ee.

EEES nt\it) CGST_.§

tinder this Agroetnont there ere absolutely no extra service fees or closing costs to be owed or paid by
the CL|El\iT to REED HEtN. itowever, some resorts may require s cancellation fee or similar fee to end or
exit nn ownership, and such ree{s} may be required in your case. These fees witt he no greater than the

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amount of this current years maintenance iee. if so, the CL|.ENT will be required to pay that ice to the
Resoit for a successful exit in addition, some resorts require all past maintenance fees to be paid upon
the completion of an eric ii required these past maintenance lees will be paid by the CLiENT.
Whether accepted by OWl\iER or not, an exit agreement obtained by REED HEIi\i from the liesort shall
meet REED i-lEli\i's Guara nice even though the Resort may require the payment by OWNER ofan exit
fee.

ctiEl\i`i"S D\JT!ES

A. Please remember that you own your Timeshare until the closing of the exit is iinal|ced,
thereby relieving you of ownersh|p; and you remain responsible for ali financial obligations associated
with your iimeshare until the exit is completed The closing of an exit transaction usually takes 3 to 9
mo nths, but in some cases longer due to Resort delays or restrictions

B. Finaily, the CL|ENT must sign land note rize, as requested: typically deeded properties) and
send within Fourteen {14} days of receiving them, any of the transfer documents required by the liesort
and{ol_' REED l~iEiN. \

Eg§QHElN’$ DUT|ES

Eyery remaining duty in this Agreement is for REED HEIN to perform in order for you to successfully exit
your 'i`imeshare Ownership. li REED HEii\i cannot finalize your Tirneshare Ownership for any reason
whatsoever, you will be entitled to a full refund of the Fee Amount. BUT BE ADV!SED: REED HEii\i fully
plans on successfully completing your exit pl'oci=.»ssl so please anticipate and expect a successful closing
to secure the objectiye: io get you out 01'l your Timeshare Owriership and all associated financial
obligations

'l'HlS 15 iiiij i¢-‘l LiS‘i‘lN£-i AGREEMEMT!

This is a 100% certain solution Timeshare Ownership Eiiit Agreemeni;. Thls is not a listing agreement
where a tiineshare ownership listing may sit unwori<ed for monthsx [Ilur Fee ngreernent ls GUARJ-\NTEED
for complete performance (totai iimeshare 0wnership exit including ali associated financial obligations).

ENDEPENDENT REVEEW]ADVICE: BINDENG AGREEMENT

OWNER is fully satisfied with the binding terms or this Agreement. By signing below the OWNER
acknowledges that he/si\e has had the opportuni‘iy to obtain his/her own independent legal and/or tax
odyice. {JWNER now wants to engage RE`ED HEll\i. Aii terms ofthis Agreernent become binding upon
signing, and no Fee Ainounts will be refunded except as specifically set forth herein li there is any
dispute under our ngreeme nt, the laws of the state of Washington shall apply with jurisdiction granted
to the Washington Superior Courts yenuod in Snohorn,ish Connty. REED HEii\l's liability under this
Agreement is strictly limited to contract damages not to exceed the Fee Amou nt. Prlo`r to any litigation
the parties agree to first attempt good faith mediation.

AMOID UWNEi-'i DEFAULT
REED HEIN wants you to receive what you paid for land to he able to end yourTime-share Ownership
without unnecessary costs). As discussed on Pago fl, you have few duties owed under this Agreement,

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Ceise 2:17-cv-03007-RFB-VCF Document 1-1 Filed 12/06/17 Page 51 of 57

but they are important to accomplish in order to avoid a default and forfeiture of your deposited iunds.
You will only have a i’eur documents to properly and t|rne|y slgn. So please avoid an unnecessary delay
and cell immediately if you think there could he any problem with performance (We can helpi}

§§_j.g_rieru§ris

REED HE|N guarantees that it will obtain exit agreement nom the i-iesort regarding your Tirneshare
Ownersiilp, or your Fee Arnount will be refunded This Guararitee is met even though the D\NNER may
not accept the terms of the liesort's exit agreement This Guara ntee is contingent upon: (a) all
information that is provided to REEB HEii\l by the CLiENT as having been accurate and complete, and [h)
full cooperation Wlth the CLiEi\l`i“ to respond to any RFl {”Request For |nforrnation”) by REED i-iElN or the
nesort. Tnis Guarantee does not apply to any transaction where the CLiiii\i'i‘ stops or delays the exit
process or refuses to sign a procured exit offer. This Guarantee is valid only when the CLIENT fulfills the
duties required of thorn. lt the CL|ENT delays the process or does not properly or timely respond to
REED HEll\l's requests then the Guarantee is void. ii the requested exit from Tirneshare OWnership
cannot be obtained , and CLiEi\lT has fully cooperated With REED i'|ElN, the lien Arnount you have paid for
this Agreernent vviii be fully refunded

[.Select and mark the oppiicngie Borr]: §§ -

M CLlEi\iT warrants that his!her Timesha re is owned tree end clear of any mortgages or other lien
enoumhra nces.

 

Ci“iEi\iT acknowledges the existence of e mortgage

RIGHT T{J CA¥\§CEL "ll"l~ilS AGREEMENT

You may cancel this ngreernent at any time prior to midnight of the third (3r“l business day after the
date of signing this Agreement. in order to be a valid cancellation you must mall your signed
cancellation notice to REED iiEii\i’s address listed et the top oi‘ this Agreement, by certified mail, return
receipt requested postage prepaid Piease call us first i"or rapid resolution of any concerns REED HEii`~i
has never had a Better Business Bureau or Washington State Attorney Genera| compiaint, or any other
form ot government action in eli 50 states and Canada. We plan on keeping this unioiemisheci record
\rvlth the consumer public and our valued clients. So if anything concerns you please call usc we are
committed to making this a positive closing chapter to yourtlrneshare ownership

NOT!CES

larry notices or other communications desired or required to be given under this Agreement shell be ln
writing and shall he sent by certified maii, return receipt requested postage prepaid to REED HEli\i to
their address listed at the top of this Agreernent, and/on to the OWNER to their address listed in the
attached iyiembersh|p Processing Form.

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CC'STS; ATTORNEYS FEES
if any dispute should arise between the parties, the prevailing party shell be awarded lay the court its
reasonable costs and expenses, including reasonable attorney’s fees.

SUCCESSORS nniD 1165le

This ngreement shall be binding upon end shall inure to the benefit of the parties hereto and their
respective successors and assigns REED HEli\i may assign this Agroement or all or any part of its rights
and obligations hereunder to one or more parties without the consent of OWNER.

eml\£.i=`_l§@it’iii_\ll'§
This Agreement rnav not be chenged, modified or terminated except by a written instrument executed
by both parties hereto

ENTERE AGREEMEN_”[
“l“his Agreernent contains all or the terms agreed upon between the parties with respect to the subject

matter hereofenol super$ecles any and eli prior nintth or oral understondings. 4

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EXHlBIT 7

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Mitchell Reed Sussman & Associates

October8,2015

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Diamond Resorts International
10600 W. Charleston Blvd.,
Las ngas, NV 89135

RE : Jl-A. and Pi- Anderson

 

 

 

Acceount # _

Att: Membsr Services

I have been retained by and represent the above ~ named with
respect to his claims of misrepresentation and fraud arising
from your time ~ share presentation and sale.

In light of the foregoing, he will no longer be making any
payments on the time » share including any future or past due
maintenance assessments.

You are hereby notified not to contact by phone, mail or
Moreover, please consider this letter their NOTICE OF
RESIGNATION from the vacation club consistent with Sections 613
and 520 of the provisions of the Model Non - Profit Corporation
Act as Amended in 2008.

I trust you are aware of the rulings of the United States
Suprems Court in such cases as Booster Lodge No. 405, Intern.
Ass'n of Msohinists and Aerospace Workers, AFL~CIO v. N. L. R.
B., 412 U.S. 84, 93 S. Ct. 1961, 36 L. Ed. 2d 764 (1973);
N.L.R.B. v. Granite State Jbint B¢:i.jr Textile Wbrkers Union of
America, Local 1029, AFL~CIO, 409 U.S. 213, 93 S. Ct. 385, 34 L.
Ed. 2d 422 §1972) wherein it was said that “ We have,
therefors, only to apply the law which normally is reflected in
our free institutions-the right of the individual to join or to

1053 S. Palm Canyon Dr., Palm Springs, Ca. 92264
Phone 760 - 325 - 7191 / 760 - 325 - 7258 Fax

EXH|B|T 7

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gmij
Mitchell Reed Sussman &. Assoc.
PageZ

resign from associations, as he sees fit” subject, of course, to
the payment of any outstanding financial obligations that were
due at the time of the resignation.

Please consider this letter my client's formal resignation.

With that said, because my client retains no ill-will toward
your company they are prepared to execute a “deed in lieu” of
foreclosure by which he will deed the property back to you
without you having to incur the expense of a drawn out
foreclosure proceeding.

E‘inallyr pursuant to my client’s request, please forward all
future communications regarding the above referenced time ~
share to my attention as follows: Mitchell Reed Sussman,
Attorney at Law, 1053 S. Palm Canyon Dr., Palm Springs, Ca.
92664 ~ Telephone 760 - 325 ~ 7191

Moreover, both the Federal Fair Debt Collection Practices hot 15
USC 16920 and California's Fair Debt Collection Practices Act,
in particular Civil Code 1788.14 (c) prohibits communications,
other than statements of account with the debtor with regard to
a consumer debt, when the debt collector has been previously
notified in writing by the debtor's attorney that the debtor is
represented by such attorney with respect to the consumer debt.

You are hereby notified not to contact by phone, mail or
initiate any communication with my client, other than statements
of account, as more fully set forth in 15 USC 1692c.

Please contact me at your earliest convenience so that we may
discuss proposed a deed ~ in ~ lien or other resolution.

Very truly yours,
Law offices of
Mitchell Reed Sussman

Mitche]l Reed Sussman
Mitchell Reed Sussman

1053 S. Palm Canyon Dr., Palm Springs, Ca. 92264
Phone 760 - 325 - 7191 l 760 - 325 - 7258 Fax

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Mitchell Reed Sussman & Assoc.

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Phone 760 ~ 325 - 7191 l 760 - 325 - 7258 Fax

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